     Case 2:05-cr-02100-LRS        ECF No. 104   filed 10/18/05   PageID.287 Page 1 of 1

      STILEY & CIKUTOVICH, PLLC
      1408 W. BROADWAY
      SPOKANE, WA 99201
      (509) 323-9000
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 3

 4
                       IN THE UNITED STATES DISTRICT COURT
 5

 6                  FOR THE EASTERN DISTRICT OF WASHINGTON

 7    UNITED STATES OF AMERICA,                   )
 8                                                )    No. CR-05-2100-LRS-1
                      Plaintiff,                  )
 9                                                )
10    v.                                          )    AGREED ORDER MODIFYING
                                                  )    RELEASE CONDITIONS TO REMOVE
11    GASPAR GARCIA,                              )    DEFENDANT FROM HOME
12                                                )    MONITORING
                      Defendant.                  )
13

14
      As agreed upon by the parties, IT IS ORDERED that;
15

16              The Defendant’s Motion to Modify Release Conditions is hereby GRANTED.

17    The Defendant shall be removed from home monitoring.
18
                All other conditions of release entered on September 2, 2005 shall remain in full
19

20    effect.
21                October 18, 2005               S/ CYNTHIA IMBROGNO
      Dated:
22                                               United States Magistrate Judge
23

24
25

26    AGREED ORDER MODIFYING RELEASE CONDITIONS 1
